             Case 21-31861 Document 369 Filed in TXSB on 07/06/21 Page 1 of 21




                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION                                                             ENTERED
                                                                                                                    07/06/2021
                                                                      )
    In re:                                                            ) Chapter 11
                                                                      )
    KATERRA INC., et al.,1                                            ) Case No. 21-31861 (DRJ)
                                                                      )
                              Debtors.                                ) (Jointly Administered)
                                                                      )   (Docket No. 288)
      STIPULATED CONFIDENTIALITY AGREEMENT AND PROTECTIVE ORDER

             This Stipulated Confidentiality Agreement and Protective Order (“Order”) is entered into

by and among: (a) the above-captioned debtors and debtors in possession (collectively, the

“Debtors”); (b) certain of the Debtors’ creditors and other constituents as specified in the signature

pages of this Order; and (c) any other persons or entities who become bound by this Order by

signifying their assent through execution of Exhibit A hereto (the “Declaration”). Each of the

persons or entities identified in the foregoing clauses (a) through (c) shall be referred to herein

individually as a “Party,” and, collectively, as the “Parties.”

                                                     RECITALS

             WHEREAS, there are, or may be, judicial or other proceedings, including but not limited

to investigations, contested matters, adversary proceedings and other disputes (each a “Dispute”

and, collectively, the “Disputes”) arising out of or relating to the Debtors’ filing of voluntary

petitions under chapter 11 of title 11 of the United States Code, U.S.C. §§ 101-1532 (the

“Bankruptcy Code”) in this Court (the cases commenced by such petitions, the “Cases”);




1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at http://cases.primeclerk.com/SeadrillLimited. The location of Debtor
      Seadrill Americas, Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is
      11025 Equity Drive, Suite 150, Houston, Texas 77041.
        Case 21-31861 Document 369 Filed in TXSB on 07/06/21 Page 2 of 21




        WHEREAS, the Parties have sought or may seek certain Discovery Material (as defined

below) from one another or from third parties with respect to one or more Disputes, including

through informal requests, Rule 2004 notices or motions, or service of document requests,

interrogatories, requests for admission, depositions, subpoenas, and other discovery requests

(collectively “Discovery Requests”) as provided by the Federal Rules of Civil Procedure (the

“Federal Rules”), the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and the

Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

Southern District of Texas (the “Local Rules”); and

        WHEREAS, the Parties anticipate that there are certain persons or entities other than the

Parties hereto2 that may also propound or be served with Discovery Requests in connection with

one or more Disputes during the course of the Cases;

        NOW, THEREFORE, to facilitate and expedite the production, exchange and treatment of

Discovery Material (as defined below), to facilitate the avoidance and prompt resolution of

disputes over confidentiality, and to protect Discovery Material (as defined below) that a Party

seeks to maintain as confidential, the Parties stipulate and agree as follows:

        1.       The Parties hereby submit this Order to the Court for approval. The Parties shall

abide by and be bound by the terms of this Order.

        2.       Unless otherwise agreed by the Parties or ordered by the Court, all deadlines stated

herein shall be computed pursuant to Rule 9006 of the Federal Rules of Bankruptcy Procedure.




2
    Reference herein to “non-Parties” or a “non-Party,” or a “non-Party” becoming a “Party,” is for purposes of
    reference in this Order only. All such references herein are not intended to reflect any agreement as to whether
    any “Party” is or will become a “party,” or any “non-Party” will not be a “party,” in any case or other proceeding,
    or otherwise to reflect any agreement as to the “party” or “non-party” status of any litigant.
       Case 21-31861 Document 369 Filed in TXSB on 07/06/21 Page 3 of 21




                                      SCOPE OF ORDER

       3.      This Order applies to all information, documents and things exchanged in, or

subject to, discovery or provided in response to a diligence request, either by a Party or a non-

Party (each a “Producing Party”) to any other Party or non-Party (each a “Receiving Party”),

formally or informally, in response to or in connection with any Discovery Requests or diligence

requests, whether before or after entry of this Order, including without limitation deposition

testimony, interrogatories, interrogatory responses, requests for admission, responses to requests

for admission, interviews, documents, electronic information, data and other information as well

as any and all copies, abstracts, digests, notes, summaries, and excerpts thereof (collectively,

“Discovery Material”).

       4.      This Order applies to all non-Parties that are served with subpoenas or who

otherwise produce documents or are noticed for depositions with respect to the Cases, and all such

non-Parties are entitled to the protections afforded hereby and subject to the obligations herein

upon signing a Declaration in the form provided as Exhibit A and agreeing to be bound by the

terms of this Order.

       5.      This Order does not affect, amend, or modify any existing confidentiality

agreements, intercreditor agreements, or protective orders applicable to any Producing Party

and/or Receiving Party, and nothing in this Order shall constitute a waiver of any rights under such

agreements or orders.

       6.      Any Party or its counsel serving a subpoena or request which requires the

production of documents or testimony upon a non-Party shall serve a copy of this Order along with

such subpoena or request and instruct the non-Party recipient of such subpoena or request that he,

she or it may designate documents or testimony in the Cases according to the provisions herein. In
       Case 21-31861 Document 369 Filed in TXSB on 07/06/21 Page 4 of 21




the event a non-Party has already been served with a subpoena or other discovery request at the

time this Order is entered by the Court, the serving Party or its counsel shall provide the service

and notice of this Order required by the preceding sentence as soon as reasonably practicable after

entry of this Order.

                         DESIGNATING DISCOVERY MATERIAL

       7.      Any Producing Party may designate Discovery Material as “Confidential Material”

or “Advisors’-Eyes Only” (any such Discovery Material, “Designated Material”) in accordance

with the following provisions:

               (a)    Confidential Material: A Producing Party may designate Discovery
       Material as “Confidential” if such Producing Party believes in good faith (or with respect
       to documents received from another person, has been reasonably advised by such other
       person) that such Discovery Material constitutes or contains nonpublic, proprietary,
       commercially sensitive, or confidential technical, business, financial, personal or other
       information of a nature that can be protected under Federal Rule 26(c) or Bankruptcy Rules
       7026 or 9018; or is subject by law or by contract to a legally protected right of privacy; or
       the Producing Party is under a preexisting obligation to a third-party to treat as confidential;
       or the Producing Party has in good faith been requested by another Party or non-Party to
       so designate on the grounds that such other Party or non-Party considers such material to
       contain information that is confidential or proprietary to such Party or non-Party.

               (b)    Advisors’-Eyes Only Material: A Producing Party may designate Discovery
       Material as “Advisors’-Eyes Only” if such Producing Party believes in good faith (or with
       respect to documents received from another person, has been reasonably advised by such
       other person) that such Discovery Material is of such a nature that a risk of competitive
       injury would be created if such Discovery Material were disclosed to persons other than
       those identified in Paragraph 13 of this Order, which may include certain trade secrets,
       sensitive financial or business information, or material prepared by its industry
       professionals, advisors, financial advisors, accounting advisors, experts and consultants
       (and their respective staff) that are retained by the signatories to this Order in connection
       with the Cases, and only to the extent that the Producing Party believes in good faith that
       such material is of such a nature that “Advisors’-Eyes Only” treatment is warranted. A
       Producing Party may alternatively designate Discovery Material as “Attorneys’ Eyes
       Only,” subject to the same requirements applicable to the Advisors’-Eyes Only
       designation, and Discovery Materials so designated shall be treated as if designated
       “Advisors’-Eyes Only.”

       8.      Manner of Designation: Where reasonably practicable, any Designated Material

shall be designated by the Producing Party as such by marking every such page “Confidential” or
       Case 21-31861 Document 369 Filed in TXSB on 07/06/21 Page 5 of 21




“Advisors’-Eyes Only” (or “Attorneys’ Eyes Only”) as applicable. Such markings should not

obliterate or obscure the content of the material that is produced. Where marking every page of

such materials is not reasonably practicable, such as with certain native file documents, a

Producing Party may designate material as “Confidential” or “Advisors’-Eyes Only” by informing

the Receiving Party in writing in a clear and conspicuous manner at the time of production of such

material that such material is “Confidential” or “Advisors’-Eyes Only”; provided that inclusion of

the words “Confidential” or “Advisors’-Eyes Only” in the file names of any native file documents

shall be deemed to comply with this requirement. A Party that was not the Producing Party may

designate Discovery Material by providing written notice to all Receiving Parties that such

Discovery Material is “Confidential” or “Advisors’-Eyes Only.”

       9.      General Data Protection Regulation Compliance: Any Party subject to the

European Union’s General Data Protection Regulation (“GDRP”) may designate as “Advisors’’-

Eyes Only” those Documents, Testimony, or Information containing “personal data” within the

meaning of GDPR, and, to the extent such personal data is contained in materials responsive to

discovery requests, may redact such personal data contained within said materials. “Personal data”

consists of any and all data that concerns an identified person or a person who is identifiable with

recourse to additional information available to the data processor (e.g., reference to an individual

by his or her title or position with the company whose identity is specified in other available

sources of information).

       10.     Late Designation of Discovery Material: The failure to designate particular

Discovery Material as “Confidential” or “Advisors’-Eyes Only” at the time of production shall not

operate to waive a Producing Party’s right to later designate such Discovery Material as

Designated Material or later apply another designation pursuant to this Order (“Misdesignated
       Case 21-31861 Document 369 Filed in TXSB on 07/06/21 Page 6 of 21




Material”). At such time, arrangement will be made for the destruction of the Misdesignated

Material or for the return to the Producing Party of all copies of the Misdesignated Material and

for the substitution, where appropriate, of properly labeled copies of such Discovery Material.

Upon receipt of replacement copies of such Misdesignated Material with the proper designation,

the Receiving Party or Parties shall take all reasonable steps to return or destroy all previously

produced copies of such Misdesignated Material. If requested by the Producing Party, a Receiving

Party shall verify in writing that it has taken all reasonable steps to return or destroy such

Misdesignated Material. Notwithstanding the foregoing, no Party or non-Party shall be deemed to

have violated this Order if, prior to notification of any later designation, such Discovery Material

was disclosed or used in any manner consistent with its original designation but inconsistent with

its later designation. Once such later designation has been made, however, any Discovery Material

shall be treated in accordance with that later designation; provided, however, that if the material

that was not designated has been, at the time of the later designation, previously publicly filed with

a court or otherwise made publicly available (other than in violation of this Order), no Party or

non-Party shall be bound by such later designation except to the extent determined by the Court

upon motion of the Party or non-Party that failed to make the designation.

      USE AND DISCLOSURE OF CONFIDENTIAL OR ADVISORS’-EYES ONLY
                              MATERIAL

       11.     General Limitations On Use And Disclosure Of All Discovery Material: All

Discovery Material shall be used by the Receiving Parties solely for the purposes of the Cases and

solely to the extent reasonably necessary to accomplish the purpose for which disclosure is made,

and not for any other purpose, including any business, competitive, governmental, commercial,

legal, or administrative purpose or function.
       Case 21-31861 Document 369 Filed in TXSB on 07/06/21 Page 7 of 21




       12.    Confidential Material: Confidential Material, and any and all information contained

therein, may be given, shown, made available or communicated only to the following:

               (a)     the Parties including their respective members, managers, partners,
       directors, officers, employees, counsel, and agents who are assisting with or making
       decisions with respect to the Cases—in each case, only as necessary to assist with or make
       decisions with respect to the Cases;

               (b)    financial advisors to the Parties who are assisting with the Cases—in each
       case, only after he/she or it has signed a Declaration in the form provided as Exhibit A
       hereto, and only as necessary to assist with or make decisions with respect to the Cases;

              (c)     the U.S. Trustee;

              (d)     witnesses being questioned, either at a deposition or in court proceedings,
       and the witness’s counsel, to the extent that such disclosure is reasonably necessary for the
       proceedings or the resolution of the Disputes, provided that the witness has signed or
       agreed on the record to sign a Declaration in the form provided as Exhibit A hereto;

               (e)     upon written notice to and with the consent of the Producing Party (which
       shall not be unreasonably withheld), any other persons or entities who become bound by
       this Order by signifying their assent through execution of Exhibit A hereto, including their
       respective managers, partners, directors, officers, and agents—in each case, only as
       necessary to assist with or make decisions with respect to the Cases, and only after he/she
       has signed a Declaration in the form provided as Exhibit A hereto;

              (f)    non-professional support personnel providing general secretarial services
       (such as word processing and printing), paralegal services, or litigation support services to
       and working under the supervision and direction of any natural person bound by this
       Order—in each case, only as necessary to assist such natural person with respect to the
       Cases;

              (g)     outside photocopying, graphic production services, or litigation support
       services, as necessary for use in connection with the Cases, provided that no originals or
       copies of such Confidential Materials are retained by said service providers after the
       provision of services;

              (h)     the Court and the Court’s personnel, provided that any Confidential
       Material filed with the Court is filed under seal;

              (i)     any other persons specified in Paragraph 13 below.
       Case 21-31861 Document 369 Filed in TXSB on 07/06/21 Page 8 of 21




       13.    Advisors’-Eyes Only Material: Advisors’-Eyes Only Material, and any and all

information contained therein, may be given, shown, made available or communicated only to the

following:

              (a)     counsel and staff working under the express direction of counsel for:

                      (i)     the Parties;

                      (ii)   upon written notice to and the consent of the Producing Party any
              other persons or entities who become bound by this Order by signifying their assent
              through execution of Exhibit A hereto; and

                      (iii)   the U.S. Trustee.

               (b)     professionals retained under 11 U.S.C. § 328, or other professionals,
       industry advisors, financial advisors, accounting advisors, experts and consultants (and
       their respective staff) that are retained by the signatories to this Order (or by any member
       of an ad hoc group of creditors on whose behalf any signatory hereto is signing this Order)
       in connection with the Cases;

               (c)    any person who is indicated on the face of a document to have been an
       author, addressee or copy recipient thereof, an actual or intended recipient thereof, or in
       the case of meeting minutes, an attendee of the meeting;

              (d)     outside photocopying, graphic production services, or litigation support
       services, as necessary for use in connection with the Cases, provided that no originals or
       copies of such Confidential Materials are retained by said service providers after the
       provision of services;

              (e)    court reporters, stenographers, or videographers who record testimony in
       connection with the Cases;

              (f)     the Court and the Court’s personnel, provided that any Advisors’-Eyes Only
       Material filed with the Court is filed under seal;

               (g)     witnesses being questioned, either at a deposition or in court proceedings,
       and the witness’s counsel, to the extent that such disclosure is determined by counsel in
       good faith to be reasonably necessary to the subject matter of the testimony, and that doing
       so would not cause competitive harm, provided, however, that such Advisors’-Eyes Only
       material can only be shared with such person in connection with the testimony, and the
       persons identified in this paragraph shall not be permitted to retain copies of such
       Advisors’-Eyes Only Material, and provided that the witness has signed or agreed on the
       record to sign a Declaration in the form provided as Exhibit A hereto;
        Case 21-31861 Document 369 Filed in TXSB on 07/06/21 Page 9 of 21




               (h)     non-professional support personnel providing general secretarial services
        (such as word processing and printing), paralegal services, or litigation support services to
        and working under the supervision and direction of any natural person bound by and
        allowed to see Advisors’-Eyes Only Material under this Order—in each case, only as
        necessary to assist such natural person with respect to the Cases; and

               (i)      any other person or entity with respect to whom the Producing Party may
        consent in writing (including their respective managers, partners, directors, officers, agents
        and other administrative or support personnel, in each case, only as necessary to
        accomplish the purpose for which disclosure is made), provided such person or entity signs
        a Declaration in the form provided as Exhibit A hereto.

        14.     Prerequisite to Disclosure of Designated Material: Before any persons or their

representative identified in Paragraph 12(b), (e), and 13(a)(ii) and (i) is given access to Designated

Material, if permitted by this Order, such entity or person or a representative thereof shall be

provided with a copy of this Order and shall execute a Declaration, in the form provided as Exhibit

A hereto. Each such Declaration shall be retained in the files of counsel for the Party who gave

access to the Designated Material to the person who was provided such access. Nothing in this

paragraph shall impact a Party’s ability to disclose the identity of a person with access to

Designated Material in connection with an attempt to enforce the requirements of this Order.

        15.     Sealing of Designated Material Filed With Or Submitted To the Court: Unless

otherwise agreed by the Producing Party or ordered by a court of competent jurisdiction, all

Designated Material filed with the Court, and all portions of pleadings, motions or other papers

filed with the Court that disclose any portion of the Designated Material, shall be filed under seal

in accordance with the Federal Rules, the Bankruptcy Rules, and the Local Rules.

        16.     Use of Discovery Material in Open Court: Counsel for any Party or non-Party who

desires to offer or use any Designated Material at trial or in any hearing to be held in open court shall meet

and confer in good faith with the Producing Party, together with any other Parties or non-Parties

who have expressed interest in participating in such meet-and-confer, to discuss such procedures
      Case 21-31861 Document 369 Filed in TXSB on 07/06/21 Page 10 of 21




as are necessary to protect the confidentiality of Confidential Material or Advisors’-Eyes Only

Material used in the course of any Court proceeding, in accordance with the provisions of the

Bankruptcy Code and Bankruptcy Rules. In the event the parties cannot agree on such procedures

or are otherwise unable to resolve a dispute related to such Designated Material, the question shall

be submitted to the Court.

                                          DEPOSITIONS

       17.     Deposition—Manner of Designation: In the case of depositions, if counsel for a

Party or non-Party believes that a portion of the testimony should be Designated Material of such

Party or non-Party, such testimony may be designated as appropriate by:

                (a)    Stating so orally on the record and requesting that the relevant portion(s) or
       entire transcript of testimony be so designated; or

               (b)      Providing written notice within seven (7) days of the Party’s or non-Party’s
       receipt of the final transcript from the court reporter that the relevant portion(s) or entirety
       of such transcript or video of a deposition thereof is so designated, except in the event that
       a hearing on related issues is scheduled to occur within seven (7) days, in which case the
       foregoing seven (7) day period will be reduced to three (3) business days. Such designation
       and notice shall be made in writing to the court reporter, with copies to all other counsel,
       identifying the portion(s) (by page and line designations) of or the entire transcript that is
       so designated, and directing the court reporter to treat the transcript as provided in Paragraph
       21 below. Until expiration of the aforesaid seven (7) or three (3) day period following
       receipt of the transcript by the Parties or non- Parties, all deposition transcripts and
       videotapes shall be considered and treated as Advisors’-Eyes Only unless otherwise agreed
       on the record at the deposition.

       18.     Designated Material Used as Exhibits during Depositions: Nothing in Paragraph 17

shall apply to or affect the confidentiality designations of Discovery Material entered as exhibits at

depositions.

       19.     Witness Review of Deposition Testimony: Nothing in Paragraphs 17 or 18 shall

preclude the witness from reviewing his or her deposition transcript.
       Case 21-31861 Document 369 Filed in TXSB on 07/06/21 Page 11 of 21




        20.     Presence of Certain Persons During Designated Deposition Testimony: When

Designated Material is elicited during a deposition, persons not entitled to receive such information

under the terms of this Order shall be excluded from the portion of the deposition so designated.

        21.     Responsibilities and Obligations of Court Reporters: In the event that testimony is

designated as Confidential or Advisors’-Eyes Only, the Parties shall request that the cover page of

each such transcript include the legend: “This transcript portion contains information subject to a

Protective Order and shall be used only in accordance therewith” and each page of the transcript

shall include the legend “Confidential” or “Advisors’-Eyes Only,” as appropriate. If the deposition

is videotaped, the videotape shall also be subject to the same level of confidentiality as the transcript

and include the legend “Confidential” or “Advisors’-Eyes Only,” as appropriate, if any portion of

the transcript itself is so designated.

                                     GENERAL PROVISIONS

        22.     This Order is a procedural device intended to protect Discovery Materials

designated as Confidential or Advisors’-Eyes Only. Nothing in this Order shall affect any Party’s

or non-Party’s rights or obligations unrelated to the confidentiality of Discovery Materials.

        23.     Nothing contained herein shall be deemed a waiver or relinquishment by any Party

or non-Party of any objection, including but not limited to, any objection concerning the alleged

confidentiality, the designation of Designated Material, or proprietary nature of any documents,

information, or data requested by a Party or non-Party, any right to object to any discovery request,

or any right to object to the admissibility of evidence on any ground, or to seek any further

protective order, or to seek relief from the Court or any other applicable court from any provision

of this Order by motion on notice on any grounds.
      Case 21-31861 Document 369 Filed in TXSB on 07/06/21 Page 12 of 21




       24.     Unauthorized Disclosure of Designated Material: In the event of a disclosure by a

Receiving Party of Designated Material to persons or entities not authorized by this Order to

receive such Designated Material, the Receiving Party making the unauthorized disclosure shall,

upon learning of the disclosure, immediately notify in writing the person or entity to whom the

disclosure was made that the disclosure contains Designated Material subject to this Order,

immediately make reasonable efforts to recover the disclosed Designated Material as well as

preclude further dissemination or use by the person or entity to whom the disclosure was made,

and immediately notify in writing the Producing Party of the identity of the person or entity to whom

the disclosure was made, the circumstances surrounding the disclosure, and the steps taken to

recover the disclosed Designated Material and ensure against further dissemination or use thereof.

Disclosure of Designated Material other than in accordance with the terms of this Order may

subject the disclosing person to such sanctions and remedies as the Court may deem appropriate.

       25.     Manner of Objecting to Designated Material: If any Receiving Party objects to the

designation of any Designated Material (whether such designation is made on a permanent basis

or temporary basis with respect to deposition testimony), the Receiving Party shall first raise the

specific objection with the Producing Party in writing, and confer in good faith to attempt to

resolve any dispute respecting the terms or operation of this Order. The Receiving Party may seek

relief from the Court if the Receiving Party and the Producing Party cannot resolve their dispute.

Until the Court rules on such an issue, the Designated Material shall continue to be treated as

designated by the Producing Party. Upon a motion, the Court may order the removal of the

“Confidential” or “Advisors’-Eyes Only” designation from any Discovery Material so designated

subject to the provisions of this Order.
       Case 21-31861 Document 369 Filed in TXSB on 07/06/21 Page 13 of 21




       26.     Timing of Objections to Designated Material: A Receiving Party shall not be

obliged to challenge the propriety of a confidentiality designation at the time made, and a failure

to do so shall not preclude a subsequent challenge thereto. The failure of any Receiving Party to

challenge the designation by a Producing Party of Discovery Materials as “Confidential” or

“Advisors’-Eyes Only” during the discovery period shall not be a waiver of that Receiving Party’s

right to object to the designation at an evidentiary hearing or trial.

       27.     Production of Privileged Discovery Material: Pursuant to Federal Rule of Evidence

502(d), and Federal Rule of Civil Procedure 26(b)(5)(B), made applicable hereto by Federal Rules

of Bankruptcy Procedure 7026 and/or 9014, the disclosure of documents or information containing

privileged information or information constituting attorney work product or otherwise protected

from disclosure, whether inadvertent, unintentional, or otherwise, shall not constitute a waiver of

any applicable privilege or protections. . This Order shall be interpreted to provide the maximum

protection allowed under Federal Rule of Evidence 502(d) and Federal Rule of Civil Procedure

26(b)(5)(B). Nothing herein is intended to or shall serve to limit a Party’s right to conduct a review

of documents, electronically stored information, or other information (including metadata), for

relevance, responsiveness and/or segregation of privileged and/or protected information before

production. Upon request from the Producing Party, the Receiving Party must return or destroy

and confirm destruction of any document over which privilege or protection is asserted, including

all copies, notes, summaries thereof, and any information derived therefrom, regardless of whether

the Receiving Party agrees with the assertion of privilege or protection. The Receiving Party shall

not use the contents of such material for any purpose, including in connection with any effort

seeking to compel production of the produced material. The Receiving Party must take reasonable

steps to retrieve the produced material if the Receiving Party disclosed it before being notified.
      Case 21-31861 Document 369 Filed in TXSB on 07/06/21 Page 14 of 21




The Receiving Party may move to compel production of a copy of the document for reasons other

than its production or any information about the contents of the material that was gained due to its

production, should it challenge the designation of privilege or protection. If the Receiving Party

becomes aware during the review of any material that is likely to be privileged or subject to other

protection, the Receiving Party shall immediately notify the Producing Party and sequester the

material until the Producing Party has had a reasonable opportunity to respond.

       1.      Use of Non-Confidential Material: To the extent that any Receiving Party has

documents or information that (i) were already in its possession at the time the same document or

information is received from a Producing Party and are not subject to any other confidentiality

agreement, non-disclosure agreement, or other confidentiality obligation; (ii) are received or

become available to a Receiving Party on a non-confidential basis, not in violation of an obligation

of confidentiality to any other person; (iii) were independently developed by such Receiving Party

without violating its obligations hereunder; or (iv) are published or become publicly available in a

manner that is not in violation of this Order or of any obligation of confidentiality to any other

person, including a Receiving Party (collectively “Non-Confidential Material”), nothing in this

Order shall limit a Receiving Party’s ability to use Non-Confidential Material in a deposition,

hearing, trial or otherwise in connection with the Cases, or otherwise. Nothing in this Order shall

affect the obligation of any Receiving Party to comply with any other confidentiality agreement

with, or undertaking to, any other person or Party, including, but not limited to, any confidentiality

obligations arising from agreements entered into prior to the Cases.

       28.     Obligations Following Conclusion of the Cases: Within 90 days of the resolution

of the Cases, including all appeals as to all Parties, unless otherwise agreed to by the Parties or

ordered by a court, all Parties and non-Parties shall take all reasonable steps to return to counsel
         Case 21-31861 Document 369 Filed in TXSB on 07/06/21 Page 15 of 21




for the respective Producing Party, or to destroy, all Designated Material, and all copies thereof in

the possession of any person, except that counsel may retain for its records (i) a copy of the

Designated Material, (ii) its work product; (iii) a copy of court filings, transcripts,

deposition/examination recordings, deposition/examination exhibits, expert reports, and; (iv)

exhibits introduced at any hearing or trial. A Receiving Party may retain Designated Material that

is auto-archived or otherwise “backed up” on electronic management and communications systems

or servers, or as may be required for regulatory recordkeeping purposes; provided that such

retained documents will continue to be treated as consistent with the provisions in this Order. If a

Receiving Party chooses to take all reasonable steps to destroy, rather than return, documents in

accordance with this paragraph, that Receiving Party shall, if requested by the Producing Party,

verify such destruction in writing to counsel for the Producing Party. Notwithstanding anything in

this paragraph, to the extent that the information in the Designated Material remains confidential,

the terms of this Order shall remain binding.

         29.   Continuing Applicability of Confidentiality Agreement and Stipulated Protective

Order: The provisions of this Order shall survive the final resolution of the Cases for any retained

Designated Material. The final termination of the Cases shall not relieve counsel or other persons

obligated hereunder from their responsibility to maintain the confidentiality of Designated

Material pursuant to this Order, and the Court shall retain jurisdiction to enforce the terms of this

Order.

         30.   Amendment of Confidentiality Agreement and Stipulated Protective Order: Upon

good cause shown, and on notice to all Parties, any Party may move to amend the provisions of

this Order at any time or the Parties may agree by written stipulation, subject to further order of

the Court if applicable, to amend the provisions of the Order.
      Case 21-31861 Document 369 Filed in TXSB on 07/06/21 Page 16 of 21




       31.     Disclosure of Designated Material in Other Proceedings: Any Receiving Party that

may be subject to a motion or other form of legal or regulatory process or demand seeking the

disclosure of a Producing Party’s Designated Material (i) shall notify the Producing Party in

writing within three (3) business days of receipt of such process or demand (unless such notice is

prohibited by applicable law, rule, or regulation), and (ii) in the absence of a court order preventing

such legally required disclosure, the Receiving Party shall be permitted to disclose only that

portion of the information that is legally required to be disclosed and shall inform in writing any

person to whom such information is so disclosed of the confidential nature of such information.

Notwithstanding the foregoing, any Receiving Party that is a regulated financial advisor may also,

without notification, disclose Designated Material in the course of inspections, examinations or

inquiries by federal or state regulatory agencies and self-regulatory organizations that have

requested or required the inspection of records that contain Designated Material; provided that

where such request or requirement is specifically targeted at the Producing Party’s Designated

Material, such Receiving Party will, to the extent permitted by the relevant regulator, provide the

Producing Party with notice thereof as promptly as practicable.

       32.     Use of Designated Material by Producing Party: Nothing in this Order affects the

right of any Producing Party to use or disclose its own Designated Material in any way.

       33.     Obligations of Parties: Nothing herein shall relieve a Party of its obligations under

the Federal Rules, the Bankruptcy Rules, the Federal Rules of Evidence, and the Local Rules, or

under any future stipulations and orders, regarding the production of documents or the making of

timely responses to Discovery Requests in connection with the Cases.

       34.     Advice Of Counsel: Nothing herein shall prevent or otherwise restrict counsel from

rendering advice to their clients in connection with the Cases and, in the course thereof, relying on
      Case 21-31861 Document 369 Filed in TXSB on 07/06/21 Page 17 of 21




examination of Designated Material; provided, however, that in rendering such advice and

otherwise communicating with such client, counsel shall not make specific disclosure of any

information in any manner that is inconsistent with the restrictions or procedures set forth herein.

       35.     Entire Agreement: This Order constitutes the entire agreement among the Parties

pertaining to the use and disclosure of Discovery Material in connection with the Cases and

supersedes prior agreements and understandings pertaining to that subject matter, it being

understood that any restrictions, limitations, or protections concerning confidentiality or non-

disclosure in a prior written agreement shall continue to be in full force and effect, notwithstanding

the terms of this Order.

       36.     Enforcement: The provisions of this Order constitute an Order of this Court and

violations of the provisions of this Order are subject to enforcement and the imposition of legal

sanctions in the same manner as any other Order of the Court.

       37.     Notice: When notice is permitted or required by the provisions hereof, such notice

shall be in writing, directed to the undersigned counsel of the Party to receive such notice, at the

corresponding addresses or email addresses indicated below, or to counsel of any non-Party

receiving such notice. Notice shall be delivered by first-class mail, Federal Express (or an

equivalent delivery service), hand delivery, or email, and shall be effective upon receipt.

       Dated: _____________
      Signed: July 01, 2021.

                                                    ____________________________________
                                               DavidDAVID  R. JONES
                                                     R. Jones
                                                    UNITED STATES BANKRUPTCY JUDGE
                                               UNITED STATES BANKRUPTCY JUDGE
      Case 21-31861 Document 369 Filed in TXSB on 07/06/21 Page 18 of 21




IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD

Houston, Texas
June 29, 2021

/s/ Matthew D. Cavenaugh                           /s/ Alfredo R. Pérez
JACKSON WALKER LLP                                 WEIL, GOTSHAL & MANGES LLP
Matthew D. Cavenaugh (TX Bar No. 24062656)         Alfredo R. Pérez (15776275)
Jennifer F. Wertz (TX Bar No. 24072822)            700 Louisiana Street, Suite 1700
J. Machir Stull (TX Bar No. 24070697)              Houston, Texas 77002
1401 McKinney Street, Suite 1900                   Phone: (713) 546-5000
Houston, Texas 77010                               -and-
Telephone: (713) 752-4200                          Gary Holtzer (pro hac vice pending)
Facsimile: (713) 752-4221                          Jessica Liou (pro hac vice pending)
Email:       mcavenaugh@jw.com                     Scott Bowling (pro hac vice pending)
             jwertz@jw.com                         David J. Cohen (pro hac vice pending)
             mstull@jw.com                         767 Fifth Avenue
                                                   New York, NY 10153
KIRKLAND & ELLIS LLP                               Phone: (212) 310-8000
KIRKLAND & ELLIS INTERNATIONAL LLP
Joshua A. Sussberg, P.C. (admitted pro hac vice)   Attorneys for SB Investment Advisers (UK) Limited,
Christine A. Okike, P.C. (admitted pro hac vice)   SVF Abode (Cayman) Limited, SVF II Abode
601 Lexington Avenue                               (Cayman) Limited, and SVF Habitat (Cayman)
New York, New York 10022                           Limited
Telephone:      (212) 446-4800
Facsimile:      (212) 446-4900
Email:          joshua.sussberg@kirkland.com
                christine.okike@kirkland.com

Proposed Co-Counsel to the Debtors
and Debtors in Possession
Case 21-31861 Document 369 Filed in TXSB on 07/06/21 Page 19 of 21




                            Exhibit A

                            Declaration
             Case 21-31861 Document 369 Filed in TXSB on 07/06/21 Page 20 of 21




                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                                      )
    In re:                                                            ) Chapter 11
                                                                      )
    KATERRA INC., et al.,1                                            ) Case No. 21-31861 (DRJ)
                                                                      )
                              Debtors.                                ) (Jointly Administered)
                                                                      )

DECLARATION OF ACKNOWLEDGEMENT AND AGREEMENT TO BE BOUND BY
THE CONFIDENTIALITY AGREEMENT AND STIPULATED PROTECTIVE ORDER

              I,                                           declare under penalty of perjury (this Declaration”)

    that:

             1.    My address is ______________________________________________________.

             2.    My present employer is ______________________________________________.

             3.    My present occupation or job description is _______________________________

             _______________________________________________________________________.

             4.    I hereby certify and agree that I have read and understand the terms of the

Confidentiality Agreement and Stipulated Protective Order (the “Order”) relating to the Cases. All

capitalized terms not otherwise defined in this Declaration have the meanings ascribed to such

terms in the Order. I further certify that I will not use Designated Material for any purpose other

than the Cases, and will not disclose or cause Designated Material to be disclosed to anyone not

expressly permitted by the Order to receive Designated Material. I agree to be bound by the terms

and conditions of the Order.



1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at http://cases.primeclerk.com/SeadrillLimited. The location of Debtor
      Seadrill Americas, Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is
      11025 Equity Drive, Suite 150, Houston, Texas 77041.
      Case 21-31861 Document 369 Filed in TXSB on 07/06/21 Page 21 of 21




         5.     I understand that I am to retain in confidence from all individuals not expressly

permitted to receive Designated Material, whether at home or at work or elsewhere, all copies of

any Designated Materials, and that I will carefully maintain such materials in a manner consistent

with the Order. I acknowledge that the return or destruction of Designated Material shall not relieve

me from any other continuing obligations imposed upon me by the Order.

         6.     I acknowledge and agree that I am aware that by receiving Designated Material:

                 (a)     I may be receiving material non-public information about companies that
         issue securities; and

                 (b)     there exist laws, including federal securities laws, that may restrict or
         prohibit the sale or purchase of securities of such companies as a result of the receipt of
         such information.

          7.    I submit to the jurisdiction of this Court solely with respect to the provisions of the

 Order.



 Date:               ,                                   Signature: ________________________
